                                                                        027,21*5$17('


                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
              v.                                  )      No. 3:15-00147
                                                  )      Chief Judge Sharp
MARTEZ PARHAM                                     )




               MOTION FOR EXTENSION OF TIME TO RESPOND TO
                     DEFENDANT’S PENDING MOTIONS

       COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney, and respectfully requests an extension of one month to respond to the

defendant Parham’s numerous pending motions before the Court.

       In support of this motion, the undersigned submits the government is in the process of

reviewing said motions and needs additional time to formulate appropriate responses to each

motion. The government submits that the trial date is now August 30, 2016. Therefore, the

undersigned requests an extension of one month, to file responses to the defendant Parham’s

motions pending before the Court.

                                                  Respectfully submitted,

                                                  DAVID RIVERA
                                                  Acting United States Attorney for the
                                                  Middle District of Tennessee

                                                  s/ Sunny A.M. Koshy
                                                  SUNNY A.M. KOSHY
                                                  Assistant U. S. Attorney
                                                  110 9th Avenue South, Suite A-96l
                                                  Nashville, Tennessee 37203
                                                  (615)736-5151




  Case 3:15-cr-00147      Document 89       Filed 06/08/16      Page 1 of 1 PageID #: 262
